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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                           Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                 Defendant.


 GOVERNMENT’S UNOPPOSED MOTION TO EXTEND DEADLINE TO RESPOND


          On March 4, 2019, defendant Concord Management and Consulting filed a motion for a

bill of particulars. Dkt. No. 104. Under D.C. Local Criminal Rule 47(b), the government’s

response is currently due on March 18, 2019. The government respectfully requests a one-week

extension of its deadline to respond, to March 25, 2019. As reflected in the attached proposed

order, the government has agreed to request that the Court give the defendant an extra week to

file its reply. The defense does not oppose this motion.

                                     Respectfully submitted,

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